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                      IN THE UNITED STATES DISTRICT COURT
                               FOR THE STATE OF UTAH
  ROBERT RYAN JOHNSON, as Executor
  and Representative of the Estate of
  Terrence Blair Hunter,                  DECLARATION BY ROBERT RYAN
        Plaintiff,                        JOHNSON
  v.
                                          Case No. 2.22-cv-591-DAO
  STANDARD REGISTRAR & TRANSFER
  COMPANY, INC., a Utah Corporation;      Magistrate Judge Oberg

        Defendants.


 Plaintiff, ROBERT RYAN JOHNSON, (“Mr. Johnson”) as Executor and Trustee

 of the Estate of Terrence Blair Hunter, hereby declares:

                                   MY BACKGROUND

     1. I am the executor of the Estate of Terrence Hunter and bring this matter as

        executor and representative of the Estate.

     2. I am a Canadian citizen, having been born and raised in British Columbia,

        Canada.
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    3. I met Terrance Blair Hunter, or Terry, through a mutual friend in 2013.

    4. Terry and I went into business together. He became my mentor and we became

         close friends. We bonded over a similar outlook on life. Among other things, we

         were both estranged from our families. Terry had no wife and no kids so as our

         friendship grew

    5. Although Terry was, like me, a Canadian native, he had lived in Mexico for the

         last (approximately) 20 years of his life.

         where he spent most of his time.

    6.                                                                                He

         emailed me a full power of attorney in August 2017 which I executed on his

         behalf.                                                  what was wrong but

         ultimately told me that he had cancer.

    7. In August 2019 Terry flew to Vancouver and went straight from the airport to

         the hospital by ambulance.

    8. By that point Terry

                                       h with dignity laws, also sometimes referred to as

         physician-assisted suicide.

    9.

         made me the executor and beneficiary of his estate, signing his will before two

         witnesses, one of which was a notary. That will is attached as Exhibit 7.
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    10. Two days later, on his own accord, Terry passed away under the care and

          supervision of physicians.

    11.

          unfamiliarity with probate law I first contacted a law firm in Canada who

          informed me that because Terry was a resident in Mexico that the will would

          need to be probated there. That letter is attached as Exhibit 8.

    12. On the recommendation of a friend I retained Basham Law, a large Mexican law

          firm, to handle the probate because I am unfamiliar with the process, let alone

          Mexican laws governing probate.

    13. Basham Law instructed me to have the will processed by Notaria Publica #10,

          Francisco Oscar Lechon Ruiz, a notary employed by the Country of Mexico.

    14. Ruiz, an official for the Mexican government, completed the probate process of




          attached to the Complaint and also attached here as Exhibit 5.

    15.

                                 nsferred without proof that he authorized their sale.

    16. This immediately called to mind the issue I personally faced nearly 10 years

          prior with Action Stock Transfer.

    17. I tried to obtain documents from the Defendant through numerous emails

          without success. This raised my suspicion that the Defendant engaged in a




          Ultimately it became clear that my only recourse would be legal action.
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                                                    –

    18. I retained Brody Valerga to file a lawsuit against the Defendant in civil case

          201903485. That lawsuit was assigned to Judge Lawrence.

    19.

          further documentation showing my authority to act on behalf of Te

    20.

    21. Because the Utah court would not take payment from Canada

          to my attorney to have him then pay the court.

    22.                                                                       payment by

          the time it was due.

    23. Instead of refiling that lawsuit right away I moved on with new counsel taking

          other steps to make sure that there would be no mistake about my authority to

                                              I proceeded to file for probate in Canada.




    24. The first action I took was to have the will probated in British Columbia where I

          live. Exhibit 4.

    25. I also had the will probated in Utah. See Exhibit 3. See also Exhibit 6 showing

          the letter testamentary that was issued after the probate was complete.

    26. As the executor of the estate, I have a responsibility to make sure that all of the




          attorney, I served a third-party subpoena to the defendant in the probate action.

          I did this because it is part of my responsibilities as the executor and also
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          because the Defendant has fought with everything they have to not send me

          documents in their possession about

    27.

          decided to not litigate that in probate court. Having my authority to act on

          behalf of the estate of Terry recognized in Utah, I instead decided that it was

          time to file a successor lawsuit. I retained Deiss Law for this suit.




    1. I was the principal of Qube Capital Ltd a B.C. Corporation, which brought a

          Utah suit against Action Stock Transfer in 2012, Case No. 12098465.

    2.                                                based on my best guess on damages

          and without knowing how damages were supposed to be calculated (at

          beginning of that case there was a co-plaintiff who also had a claim for




    3. I brought that suit after learning that some of my securities were no longer in

          my possession but were taken by an individual named Randy Hamdan.

    4. I brought that case against Action Stock Transfer for negligently transferring

          stocks to Hamdan. During the course of that suit I, through my attorney, made




          possession that would have vindicated my claim. Action Stock Transfer never

          disclosed the stock powers to me and instead offered me a favorable settlement

          amount.
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    5. I decided that on the balance of competing interests that I was comfortable with

         the offer and took it. I never saw the stock power and doubt that it ever existed,

         but I chose to let the issue go.

    6. Randy Hamdan has since been convicted of securities fraud in connection with

         other issues.

    7. In his sworn declaration, J. Michael Coombs states that Canadians and

         Mexicans often take advantage of the American securiti




         case, but in any event Hamdan, to the best of my knowledge, is an American. At

         the time of that lawsuit he was living or operating in the Detroit area.




    8. J. Michael Coombs accuses me of bringing suits against transfer agents for a

                                                      The only lawsuit I have ever brought

         against a transfer agent was the 2012 case discussed above. I am bringing this

         lawsuit on behalf of Terrence Hunter                     the illegal transfers of




    9.

         supplied evidence to the SEC and the FBI which led to the criminal prosecution

         against several individuals involved in securities fraud. That case is 1:20-cr-

         00842. This came about after individuals indicted in that case sued me for a

         meritless claim that was dismissed. After that case was dismissed I learned
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          other information about them that I then supplied to the SEC and FBI as

          evidence that they had committed securities fraud.

    10.

          autistic. Securities law, patterns, and numbers make a lot of sense to me.

          However, most of the time, p                                  I am shocked at

          how much time, money, and energy I have had to spend to have the Defendant

          turn over documents in their possession that they are mandated by law to turn

          over in three business days or less (17 CFR § 240.17) that would show their role

                                             at appear to have been done fraudulently.

          This has been a complicated process because it has involved the legal systems

          of three different countries. In spite of the challenging process, the steps I have

          taken to pursue this matter have at all times been with the intent of complying

          with the law.




                                                                 and federal law that the

    foregoing is true and correct.




       DATED this November 9, 2022
                                                                       Robert Ryan Johnson
                                                                 ______________________
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